         Case:1:19-cr-00060-BLW
         Case  20-30178, 01/03/2022, ID: 12328662,
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                    UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      JAN 03 2022
                                                                    MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                      No. 20-30178

               Plaintiff - Appellee,
                                                D.C. No. 1:19-cr-00060-BLW-1
   v.                                           U.S. District Court for Idaho, Boise

 SERGIO MIRAMONTES-                             MANDATE
 MALDONADO,

               Defendant - Appellant.


        The judgment of this Court, entered December 10, 2021, takes effect this

date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT

                                                By: Quy Le
                                                Deputy Clerk
                                                Ninth Circuit Rule 27-7
